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 8                             IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11
      People of the State of California, et al.               MDL No.       3047
12
            v.
13                                                            Case Nos.     4:23-cv-05448-YGR
      Meta Platforms, Inc.; Instagram, LLC; Meta                            4:23-cv-05885-YGR
14    Payments, Inc.; Meta Platforms Technologies,
      LLC,                                                                  4:24-cv-00805-YGR
15                                                            DECLARATION OF MEGAN O’NEILL
     Office of the Attorney General, State of Florida,        IN SUPPORT OF STATE ATTORNEYS
16                                                            GENERAL’S ADMINISTRATIVE
     Department of Legal Affairs
                                                              MOTION TO ENFORCE PAGE LIMITS
17       v.                                                   SET FORTH IN JUDGE KANG’S
     Meta Platforms, Inc., Instagram, LLC., Meta              STANDING ORDER FOR DISCOVERY
18                                                            IN CIVIL CASES
     Payments, Inc.
19                                                            Judge: Hon. Yvonne Gonzalez Rogers
20   State of Montana, ex rel. Austin Knudsen,      Magistrate Judge: Hon. Peter H. Kang
     Attorney General
21       v.
22   Meta Platforms, Inc., Instagram, LLC, Facebook
     Holdings, LLC, Facebook Operations, LLC,
23   Meta Payments, Inc., Meta Platforms
     Technologies, LLC, Siculus, Inc.
24

25    IN RE: SOCIAL MEDIA ADOLESCENT
      ADDICTION/PERSONAL INJURY
26    PRODUCTS LIABILITY LITIGATION THIS
      DOCUMENT RELATES TO:
27
      4:23-cv-05448, 4:23-cv-05885; 4:24-cv-00805.
28
        Declaration Of Megan O’Neill in Support of State Attorneys General’s Administrative Motion to Enforce Page
         Limits Set Forth in Judge Kang’s Standing Order for Discovery in Civil Cases (4:22-md-03047-YGR-PHK)
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 1    I, MEGAN O’NEILL, hereby declare and state as follows:

 2          1.        I am a Deputy Attorney General in the Consumer Protection Section of the

 3    California Department of Justice. I am a member in good standing of the State Bar of California. I

 4    am one of the attorneys representing the People of the State of California (“People”) in this law-

 5    enforcement action. The following facts are within my personal knowledge, except for those

 6    stated on information and belief, and, if called upon to testify, I could and would testify

 7    completely to the truth of the matters stated herein.

 8          2.        On December 3, 2024, counsel for the People met and conferred with Meta’s

 9    counsel twice regarding, among other issues, page limits applicable to upcoming discovery letter

10    briefing regarding disputes concerning the production of state agency documents.

11          3.        In the latter meet-and-confer, Meta’s counsel sought to impose a 1/2 page letter

12    briefing limit on each of the sovereign, separate plaintiffs in this law-enforcement action, with a

13    single “combined” brief of 5 pages for all State AGs.

14          4.        Counsel for the People alerted Meta’s counsel to the unreasonableness and

15    unworkability of their position, given the number of State AGs and agencies at issue.

16          5.        The parties reached an impasse on this point, necessitating the submission of the

17    administrative motion to ensure that the State Attorneys General are not unfairly prejudiced by

18    truncated presentation of their position on these critical issues.

19          6.        Meta has propounded dozens of RFPs seeking documents from more than 270

20    state agencies in the home states of 35 State Attorneys General and has served notice of its intent

21    to serve more than 140 subpoenas to state agencies.

22          7.        On information and belief, many agency counsel have engaged in meet and

23    confers with Meta’s counsel regarding custodians, search terms, and hit reports, and Meta has

24    settled on search terms with the agencies in only one state.

25          8.        Meta has insisted on “polic*,” “social media,” “practice,” and “concern” as search

26    terms for state agencies.

27          9.        Despite the State AGs’ repeated requests, Meta’s counsel has not identified (1) the

28    State AGs against whom it intends to raise any particular disputes regarding state agency
        Declaration Of Megan O’Neill in Support of State Attorneys General’s Administrative Motion to Enforce Page
         Limits Set Forth in Judge Kang’s Standing Order for Discovery in Civil Cases (4:22-md-03047-YGR-PHK)
                                                             2
     Case 4:22-md-03047-YGR             Document 1407-1           Filed 12/04/24        Page 3 of 3



 1    document production and (2) the relief that Meta seeks with respect to any State AG or agency.

 2          10.       On both December 3 and December 4, 2024, Meta’s counsel stated that Meta

 3    would not agree to the relief sought in the administrative motion.

 4          I declare under penalty of perjury under the laws of the United States of America that the

 5    foregoing is true and correct.

 6          Executed on December 4, 2024, in San Francisco, California.

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                                                                 /s/ Megan O’Neill
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                                                                                 Megan O’Neill
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        Declaration Of Megan O’Neill in Support of State Attorneys General’s Administrative Motion to Enforce Page
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